Case 2:18-cr-00335-AB Document 563 Filed 02/26/21 Page 1 of 24 Page ID #:2766




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   6
       Yichao Chen

   7

   8                      UNITED STATES DISTRICT COURT
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
   9

  10

  11
       UNITED STATES OF AMERICA,                 Case No.: CR-18-335-AB
  12
                   Plaintiff,                          Motions of Defendant Chen:
  13
             vs.                                       1) To Dismiss the Indictment,
  14                                                   2) To Sever, and,
  15                                                   3) To Transfer Venue.
       YICHAO CHEN,
  16
                   Defendant.
  17

  18

  19         TO: THE CLERK OF THE ABOVE-ENTITLED COURT AND THE
  20   UNITED STATES OF AMERICA AND ITS ATTORNEY OF RECORD:
  21         PLEASE TAKE NOTICE that on a date and time to be set by the Court
  22   and in the courtroom of the Honorable André Birotte, Jr., United States District
  23   Judge, defendant CHEN, by and through counsel, Oliver P. Cleary, pursuant to
  24   Federal Rules of Criminal Procedure § 7, will move this court for an Order to
  25   dismiss Count One, charging him with conspiracy to possess with intent to
  26
       distribute controlled substances in violation of 21 U.S.C. § 846, and, Count
  27
       Twenty-Three, charging him with conspiracy to launder monetary instruments in
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Case 2:18-cr-00335-AB Document 563 Filed 02/26/21 Page 2 of 24 Page ID #:2767




   1
       violation of Title 18, U.S.C. § 1956 (h), or, for such other relief the Court may

   2   deem appropriate. Should the Court deny the defendant’s motion to dismiss,
   3   then, defendant moves to sever his case from the co-defendants, and, transfer his
   4   trial to the proper venue, the Eastern District of New York.
   5         The grounds for the motion to dismiss the indictment as it denies
   6   defendant’s right to due process of law and the notice provisions as guaranteed by
   7   the Fifth Amendment and Sixth Amendment to the U.S. Constitution and the
   8
       Speedy Trial Act. The motions to sever and transfer venue are brought under
   9
       Federal Rules of Criminal Procedure § 7 and 14.
  10
             This motion is based upon the files and records in the above-captioned
  11
       matter, the attached memorandum of points and authorities, and any and all other
  12
       materials that may come to this Court’s attention prior to or during the hearing of
  13
       this motion.
  14
             Dated: February 26, 2021                Respectfully submitted,
  15
                                                     s/s Oliver P. Cleary
  16
                                                     Attorney for defendant,
  17                                                 Yichao Chen
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Case 2:18-cr-00335-AB Document 563 Filed 02/26/21 Page 3 of 24 Page ID #:2768




   1
                                  TABLE OF CONTENTS

   2   Table of Authorities………………………………………………………..………4
   3     I.     INTRODUCTION…………………………………….…………………6
   4            MEMORANDUM OF POINTS & AUTHORITIES
   5     II.    THE NECESSARY ELEMENTS OF THE CRIMES MUST BE
   6            ALLEGED IN THE INDICTMENT…………………………………….6
   7     III.   1956(a)(1)(B)(i) REQUIRES CONCEALMENT, KNOWING
   8
                PROCEEDS UNLAWFULLY DERIVED AND A FINANCIAL
   9
                TRANSACTION…………………………………………...……………8
  10
         IV.    IGNORANTIA FACTI EXCUSAT ……………...………………………12
  11
         V.     INDICTMENT FAILS TO ALLEGE AN ESSENTIAL ELEMENT OF
  12
                TITLE 18 § 1956(A)(1)(B)(i) ………………………………………….12
  13
                a. CHEN is a Transporter not a Launderer………...………..…………13
  14
                b. Financial Transaction is a Necessary Element of the Money
  15
                   Laundering Statute under 1956 (h)………………………………….15
  16
                c. Hiding Drug Proceeds Is Not Laundering………………………..…17
  17

  18
         VI.    DEFENDANT'S CASE SHOULD BE SEVERED TO AVOID UNFAIR

  19            PREJUDICE AT TRIAL…………………………………………….…17
  20            a. Without Severance, the Jury May Find CHEN Guilty by Association,
  21               Impinging on his Due Process Rights………………………………18
  22     VII. SPEEDY TRIAL ACT REQUIRES DISMISSAL……………………..19
  23     VIII. VENUE IS NEW YORK THIS CASE MUST BE TRANSFERRED…20
  24   CONCLUSION…………………………………………………………………...21
  25

  26

  27

  28


                                              3
Case 2:18-cr-00335-AB Document 563 Filed 02/26/21 Page 4 of 24 Page ID #:2769




   1
                                    TABLE OF AUTHORITIES

   2   Cases:
   3   Hamling v. United States, 418 U.S. 87 (1974)…………………………………....7
   4   United States v. Berger 473 F.3d 1080 (2007)…………………………………..7
   5   Russell v. United States, 369 U.S. 749 (1962)………….………………....8, 13, 15
   6   United States v. Whitehorn, 710 F. Supp. 803, 817 (D.D.C. 1989)…..…………10
   7   United States v. Brown, 912 F.2d 1040, 1043 (9th Cir. 1990)…..………………10
   8
       United States v. Willey, 57 F.3d 1374 (5th Cir. 1995)……………………………10
   9
       United States v. Burns,162 F.3d 840 (5th Cir.1998).................…………………10
  10
       United States v. Valdez, 726 F.3d 684 (5th Cir. 2013)…………………………..10
  11
       United States v. Macias-Muniz, 74 F.3d 545 (5th Cir.)………………………….11
  12
       United States v. Whitehorn, 710 F. Supp. 803 (D.D.C. 1989)…………………..12
  13
       United States v. Reed 77 F.3d 139 (6th Cir. 1996)………………………………12
  14
       United States v. Dimeck, 24 F.3d 1239(10th Cir. 1994)……...…………………..12
  15
       United States v. Puig-Infante, 19 F.3d 929 (5th Cir. 1994)…...………….12, 15, 16
  16
       United States v. Gaytan, 74 F.3d 545 (5th Cir)…………………………………..12
  17

  18
       United States v. Garza, 118 F.3d 278 (5th Cir. 1997)………………………...…12

  19   Kotteakos v. United States, 328 US 750, 773, 776………………………………13
  20   United States v. Brown, 912 F.2d 1040 (9th Cir. 1990)…………………………13
  21   United States v. Dickey, 736 F.2d 571, 585 (10th Cir. 1984)…..………..…….…13
  22   United States v. Horn, 946 F.2d 738 (10th Cir. 1991)………………….....……..13
  23   United States v. Pheaster, 544 F.2d 353 (9th Cir.1976)............................13, 14, 20
  24   Batchelor v. United States, 156 U.S. 426, (1895)………………………….........13
  25   United States v. Huff, 512 F.2d 66 (5th Cir.1975)………………………..……..13
  26
       Nelson v. United States, 406 F.2d 1136 (10th Cir.1969)……..…………...…….13
  27
       United States v. Root, 366 F.2d 377 (9th Cir. 1966…………………….…….…13
  28


                                                     4
Case 2:18-cr-00335-AB Document 563 Filed 02/26/21 Page 5 of 24 Page ID #:2770




   1
       United States v. Gonzalez-Rodriguez, 966 F.2d 918 (5th Cir.1992)…………….14

   2   United States v. Samour, 9 F.3d 531 (6th Cir. 1993).……………………………16
   3   United States v. Ramirez, 954 F.2d 1035 (5th Cir. 1992)……...….…………….17
   4   Regalado Cuellar v. United States, 553 U.S. 550 (2008)….……........................18
   5   United States v. Seifert, 648 F.2d 557, 563 (9th Cir. 1980)……………………..18
   6   United States v. Mayfield, 189 F.3d 895 (9th Cir. 1999)……………………...…19
   7   United States v. Zafiro, 560 U.S. 534(1993)………….…………………………19
   8
       United States v. Tootick, 952 F.2d 1078 (9th Cir. 1991)………………...………19
   9
       United States v. Doe, 655 F.2d 920……………………………………………...19
  10
       United States v. Mardian, 546 F.2d 973 (D.C. Cir. 1976)……………………....19
  11
       United States v. Sampol, 636 F.2d 621 (D.C. Cir. 1980)………….…………….19
  12
       United States v. Peterson, 549 F.2d 654 (9th Cir.1977)…………………………19
  13
       United States v. Basurto, 497 F.2d 781 (9th Cir. 1974)…………………………19
  14
       Krulewitch v. United States, 336 U.S. 440 (1949)………………………………19
  15
       United States v. DeRosa, 670 F.2d 889(9th Cir. 1982)……………..…………...20
  16
       United States v. Mehrmanesh, 652 F.2d 766 (9th Cir. 1981)……………………20
  17

  18
       United States v. Nance, 666 F.2d 353 (9th Cir. 1982)………….………………..20

  19   United States v. Taylor, 487 U.S. 326, 332 (1988)………...……………………21
  20   United States v. Engstrom, 7 F.3d 1423 (9th Cir. 1993)…...……...…………….21
  21   Platt v. Minnesota Mining & mfg. Co., 376 U.S. 240 (1964)……………………22
  22   United States v. Cabrales, 524 US 1, 3 (1998)…...……………………………..22
  23   Statutes:
  24   18 U.S.C. §1956(a)(1)(B)(i)…………..……………..7, 8, 9, 10, 13, 14, 17, 18, 22
  25   F.R.Crim.P. 7 (c) (3)…….……………………………...…...…………………….8
  26
       18 U.S.C. § 1956 (c)(1)……………………………………………….………9, 11
  27
       18 U.S.C. § 1956 (c)(4)…………………………………………….…………9, 12
  28


                                                5
Case 2:18-cr-00335-AB Document 563 Filed 02/26/21 Page 6 of 24 Page ID #:2771




   1
        Fifth Amendment Indictment clause…………………………………………...7,8

   2    Sixth Amendment Notice clause………………………………………………7, 8
   3   F.R.Crim.P. 7 (c) ……….……………………………...…...………………….…8
   4   21 U.S.C. §846…..............……………….……………………………………….9
   5   18 U.S.C. 1956(a)(1)(A)(i)……………………………………………………....17
   6   Fed R. Crim. Pro. 14(a)………………………………………………………….18
   7   Speedy Trial Act, 18 U.S.C. § 3161 et seq………………………………………20
   8
       FRCrP 21(b); §14:5…………………………………………………………21, 22
   9
       Reference Materials:
  10
       Black’s Law Dictionary, 7th Edition, Bayan A. Garner, Editor in Chief………..10
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Case 2:18-cr-00335-AB Document 563 Filed 02/26/21 Page 7 of 24 Page ID #:2772




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   3                  MEMORANDUM OF POINTS & AUTHORITIES
                                     I.
   4
                               INTRODUCTION
   5
             On January 18, 2017, Yichao CHEN (“CHEN”) was arrested in a motel
   6
       room at a Red Roof Inn in the Flushing neighborhood of New York City. At the
   7

   8
       time, there was $436,000 in cash bundled on the bed, together with a money

   9   counting machine, rubber bands, and, heat seal bags. The occupants of the room,
  10   Yichao CHEN and Jaize XIA were both arrested.
  11         The Payan-Castillo Indictment (“Indictment”) was filed on May 31, 2018
  12   and describes an international money-laundering conspiracy where, in the usual
  13   manner, a group of drug couriers ferry fentanyl, cocaine, heroin, and,
  14   methamphetamine from Mexico to the United States where it is consumed. The
  15   proceeds from the sales of the drugs are then repatriated back to Mexico in the
  16
       form of profits.
  17
             The defendant seeks to show how the indictment falls woefully short of the
  18
       due process and fair notice requirements of the U.S. Constitution by failing to
  19
       allege the essential elements of Title 18 § 1956(a)(1)(B)(i). CHEN also seeks to
  20
       sever his trial from that of his co-defendants, and, the appropriate venue being the
  21
       Eastern District of New York, his trial should be transferred.
  22
                                           II.
  23
                          THE NECESSARY ELEMENTS OF THE CRIMES
  24                        MUST BE ALLEGED IN THE INDICTMENT
  25
             An indictment must contain the elements of the offense charged that fairly
  26
       informs a defendant of the charge against which he must defend and enable him to
  27
       plead an acquittal or conviction in bar of future prosecutions for the same
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Case 2:18-cr-00335-AB Document 563 Filed 02/26/21 Page 8 of 24 Page ID #:2773




   1
       offense. Hamling v. United States, 418 U.S. 87, 117, 94 S.Ct. 2887. Although an

   2   indictment “should be read in its entirety, construed according to common sense,
   3   and interpreted to include facts which are necessarily implied.” Berger, 473 F.3d at
   4   1103 (quoting United States v. King, 200 F.3 1207, 1217 (9th Cir. 1999) Whenever
   5   the facts or the elements of the crimes charged are omitted, the defendant may
   6   move to dismiss the indictment or information or to reverse a conviction on the
   7   ground the Indictment was misleading and prejudicial. Fed.R.Crim.P. 7(c)(3).
   8
              The Supreme Court has held that the Fifth Amendment Indictment clause
   9
       and the Sixth Amendment notice clause as reflected in the Federal Rules of
  10
       Criminal Procedure 7(c), require that the indictment “sufficiently apprise the
  11
       defendant of what he must be prepared to meet.” Russell v. United States, 369 US
  12
       749, 763-64 (1962). The instant indictment is fatally defective as it fails to provide
  13
       CHEN with notice of the particular manner and means by which he collected,
  14
       laundered, and repatriated millions of dollars in drug proceeds. (See Document 1,
  15
       p. 5, ¶ 5, l. 1-2)
  16
              Nor does it state how defendants “sought to conceal the nature, source
  17

  18
       ownership, and control of the illegal drug proceed” by simply “arranging and

  19   conducting cash deliveries involving anonymous couriers in parking lots, on street
  20   corners, and in hotel rooms.” (Document 1, p. 5, l. 17-21) The fact that “money
  21   couriers…would package, count, store, collect, transport, and deliver hundreds of
  22   thousands of dollars of cash drug proceeds” does not constitute an offense under
  23   §1956 (a)(1)(B)(i). (Document 1, p. 6,¶ 9, l. 8-11) Missing from this indictment
  24   are the acts of concealment, how CHEN knew the proceeds in the motel room were
  25   unlawfully derived, and, what financial transaction took place as required. For this
  26
       omission, CHEN asks this court to dismiss Count I and XXIII of the Indictment
  27
       under Federal Rule of Criminal Procedure 7 and the Fifth and Sixth Amendment to
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Case 2:18-cr-00335-AB Document 563 Filed 02/26/21 Page 9 of 24 Page ID #:2774




   1
       the United States Constitution. In addition, CHEN submits the following points

   2   and authorities in support.
   3                      MEMORANDUM OF POINTS AND AUTHORITIES
   4                                         III.
               1956(a)(1)(B)(i) REQUIRES CONCEALMENT, KNOWING PROCEEDS
   5

   6
           ARE UNLAWFULLY DERIVED AND A FINANCIAL TRANSACTION

   7

   8           In Count I, defendant CHEN is charged with Conspiracy to Commit Money
   9   Laundering, however, the Indictment fails to allege the necessary elements to
  10   constitute a violation of Title 18, USC § 1956(a)(1)(B)(i) which states in pertinent
  11   part:
  12           Whoever, knowing that the property involved in a financial transaction
  13
               represents the proceeds of some form of unlawful activity, conducts or
               attempts to conduct such a financial transaction which in fact involves the
  14
               proceeds of specified unlawful activity-knowing that the transaction is
  15           designed in whole or in part to conceal or disguise the nature, the location,
               the source, the ownership, or the control of the proceeds of specified
  16
               unlawful activity; Shall be sentenced to a fine…. or imprisonment…., or
  17           both.
  18
               §1956 (c) (1) defines the term “knowing that the property involved in a
               financial transaction represents the proceeds of some form of unlawful
  19           activity” which means that the person knew the property involved in the
  20           transaction represented proceeds from some form, though not necessarily
               which form, of activity that constitutes a felony under State, Federal, or
  21
               foreign law.
  22           §1956 (c) (4) defines the term “financial transaction” which means (A) a
  23
               transaction which in any degree affects interstate or foreign commerce (i)
               involving the movement of funds by wire or other means or (ii) involving
  24           one or more monetary instruments, or (iii) involving the transfer of title to
  25           any real property, vehicle, vessel, or aircraft, or (B) a transaction involving
               the use of a financial institution which is engaged in, or the activities of
  26
               which affect, interstate or foreign commerce in any way or degree.
  27

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Case 2:18-cr-00335-AB Document 563 Filed 02/26/21 Page 10 of 24 Page ID #:2775




   1    a. The concealment clause requires there be concealment.
   2            The first paragraph of § 1956(a)(1)(b)(i), otherwise known as the
   3    concealment clause, requires the government to establish that the dirty money
   4
        transactions are “designed ... to conceal or disguise the nature, the location, the
   5
        source, the ownership, or the control” of the money involved. 18 U.S.C. §
   6
        1956(a)(1)(B)(i); see United States v. Brown, 553 F.3d 768, 786 (5th Cir.2008).
   7
                To conceal or disguise the nature, location, source, ownership or control
   8
        means that the financial transaction had the purpose, not merely the effect, of
   9
        “mak[ing] it more difficult for the government to trace and demonstrate the nature
   10
        of th[e] funds.” Brown, 553 F.3d at 787 (citing Cuellar v. United States, 553 U.S.
   11
        550, 128 S.Ct. 1994, 170 L.Ed.2d 942 (2008)). In other words, to conceal the
   12
        proceeds, one must convert them into a different and more legitimate-appearing
   13

   14
        form.

   15           Here, to conceal implies that more than a trivial motivation to conceal must
   16   be proved. In United States v. Valdez, 726 F.3d 684, 690 (5th Cir. 2013), the
   17
        government relied on Valdez's transfers of funds from his operating accounts to
   18
        investment accounts, and on Valdez's purchases of property and investments—all
   19
        done openly, in his name—as proof of concealment money laundering. None of the
   20
        transactions pointed to by the government showed a specific intent to conceal the
   21
        nature, location, source or ownership of the funds used. Valdez did not use false
   22
        names, third parties, or any particularly complicated financial maneuvers, which
   23
        are usual hallmarks of an intent to conceal. (See United States v. Burns,162 F.3d
   24
        840, 848–49 (5th Cir.1998); Willey, 57 F.3d at 1385 (noting that “a showing of
   25

   26
        simply spending money in one's own name will generally not support a money

   27
        laundering conviction”). There is virtually no evidence of a design to conceal,
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                                                  10
Case 2:18-cr-00335-AB Document 563 Filed 02/26/21 Page 11 of 24 Page ID #:2776




   1
        beyond the “trivial motivation” shown by the acquiring of assets with the proceeds

   2    of criminal activity, which Willey instructs is insufficient to establish the necessary
   3    intent. Willey, 57 F.3d at 1384.) Here, there is insufficient evidence of
   4    concealment money laundering.
   5

   6    b. The proceeds must be knowingly derived from unlawful proceeds.
   7          The linchpin under § 1956(c)(1) is proof that the proceeds were known to be
   8    from specified unlawful activity. Here, the Indictment fails to allege defendant
   9    CHEN knew the proceeds were from illegal activity because the defendant was not
   10   the one who received the proceeds from the sale of illegal drugs. The court in
   11   United States v. Macias-Muniz, 74 F.3d 545 (5th Cir.) reversed a money laundering
   12
        conviction for insufficient evidence defendant had knowledge the proceeds were
   13
        derived from unlawful activity. The court opined:
   14
              “[A]a transaction to pay for illegal drugs is not money laundering, because
   15
        the funds involved are not proceeds of an unlawful activity when the transaction
   16
        occurs, but become so only after the transaction is completed; the second,
   17
        …transportation of the money from Florida to Laredo, involves the proceeds of
   18
        unlawful activity but is not a transaction.”
   19
              Applying this standard, the Court reversed Macias's conviction because the
   20
        money did not become the proceeds of drug trafficking, however, until Macias
   21

   22
        received it. Nor is there any evidence indicating the money was obtained through

   23
        unlawful activity. Thus, while it is true that several transactions took place, none
   24   involved the proceeds of unlawful activity.”
   25
        c. A financial transaction is a required element of money laundering.
   26

   27         The indictment fails to allege how CHEN knowingly conducted or attempted
   28


                                                  11
Case 2:18-cr-00335-AB Document 563 Filed 02/26/21 Page 12 of 24 Page ID #:2777




   1    to conduct a financial transaction in whole or in part to conceal or disguise the
   2    nature, the location, the source, the ownership, or the control of the proceeds. A
   3    blanket allegation without more fails the specificity requirement and requires
   4
        dismissal of the Count. United States v. Whitehorn, 710 F. Supp. 803, 817 (D.D.C.
   5
        1989) (rejecting argument that conspiracy count was impermissibly vague where
   6
        manner and means of conspiracy was set forth with specificity), rev’d on other
   7
        grounds, 888 F.2d 1406 (D.C. Cir. 1989) The linchpin under § 1956(c)(4), or
   8
        whether the conduct meets the definition of a financial transaction, is whether a
   9
        disposition of the funds has taken place. United States v. Reed 77 F.3d 139 (6th
   10
        Cir. 1996) Otherwise, the conduct amounts to nothing more than mere
   11
        transportation. United States v. Dimeck, 24 F.3d 1239, 1246 (10th Cir. 1994);
   12
        United States v. Puig-Infante, 19 F.3d at 937-39. Because money laundering does
   13

   14
        not occur until after a financial transaction has taken place, defendant CHEN’s

   15
        indictment is flawed.

   16          In United States v. Gaytan, 74 F.3d 545, 555 (5th Cir) the delivery of funds
   17   to pay for illegal drugs did not meet the statutory imprimatur of a “financial
   18   transaction” because it was before the transaction was complete. A defendant’s
   19   conviction under Title 18 § 1956(c)(4) was reversed where “[n]o proof of wire
   20   transfers or other transactions involving currency were presented.” United States v.
   21   Garza, 118 F.3d 278, 284 (5th Cir. 1997). Here, the Indictment lacks the necessary
   22   element of a financial transaction, and, therefore should be dismissed.
   23
                                                   IV.
   24
                                        IGNORANTIA FACTI EXCUSAT 1
   25
               1
   26             Ignorance of fact is an excuse and whatever is done under mistaken impression of a
        material fact is excused or provides grounds for relief. Black’s Law Dictionary, 7th Edition, Bayan
   27   A. Garner, Editor in Chief.
   28


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Case 2:18-cr-00335-AB Document 563 Filed 02/26/21 Page 13 of 24 Page ID #:2778




   1
              Conspiracy is frequently used by the government to cast a wide net that
   2
        captures many players. Kotteakos v. United States, 328 US 750, 773, 776. As is
   3
        well settled, mere participation in single deed with ignorance about the scope or
   4
        facts of a charged conspiracy is insufficient to sustain a conviction. United States
   5

   6
        v. Brown, 912 F.2d 1040, 1043 (9th Cir. 1990). It is not enough for the

   7
        government to show only a "mere association" with conspirators known to be
   8    involved in crime. United States v. Dickey, 736 F.2d 571, 585 (10th Cir. 1984)
   9    (citation omitted), cert. denied. Finally, "[c]asual transactions" between the
   10   defendant and conspirators known to be involved in crime also falls short of the
   11   marque. United States v. Horn, 946 F.2d at 741 (10th Cir. 1999).
   12

   13
                                             V.
                          INDICTMENT FAILS TO ALLEGE AN ESSENTIAL
   14                         ELEMENT OF TITLE 18 § 1956(A)(1)(B)(i)
   15
           It is of paramount importance to the rights of the accused that the indictment
   16
        contain an adequate recitation of each component of the crime that the Government
   17
        must establish. One test used to evaluate the sufficiency of an indictment is
   18
        "whether the indictment `contains the elements of the offense intended to be
   19

   20
        charged, "and sufficiently apprises the defendant of what he must be prepared to

   21
        meet." Russell v. United States, 369 U.S. 749, 763, 82 S.Ct. 1038, 1047, 8 L.Ed.2d

   22   240 (1962), quoted in United States v. Pheaster, 544 F.2d 353, 360 (9th Cir.1976).
   23   Here, a failure to charge every essential element of the crime is by no means a
   24   mere technicality.
   25      Where, as here, an indictment fails to detail each element of the charged offense
   26   generally constitutes a fatal defect. See, e. g., Batchelor v. United States, 156 U.S.
   27   426, 15 S.Ct. 446, 39 L.Ed. 478 (1895); United States v. Huff, 512 F.2d 66 (5th
   28


                                                  13
Case 2:18-cr-00335-AB Document 563 Filed 02/26/21 Page 14 of 24 Page ID #:2779




   1
        Cir.1975); Nelson v. United States, 406 F.2d 1136 (10th Cir.1969); United States

   2    v. Root, 366 F.2d 377 (9th Cir.), cert. denied, 386 U.S. 912, 87 S.Ct. 861, 17
   3    L.Ed.2d 784 (1966).
   4          a. CHEN is a Transporter not a Launderer
   5       Here, the government alleges through conspiracy --- using encoded electronic
   6    communications, passcodes, and serial numbers to arrange and conduct cash
   7    deliveries involving anonymous couriers in parking lots, on street corners, and in
   8
        hotel rooms--- defendants sought to conceal the nature, sources, ownership, and
   9
        control of the illegal drugs proceeds in violation of § 1956(a)(1)(B)(i). Other
   10
        circuits have examined whether, as here, the possession and transportation of
   11
        illegal proceeds constitutes money laundering under § 1956(a)(1)(B)(i). In United
   12
        States v. Gonzalez-Rodriguez, 966 F.2d 918, 925 (5th Cir.1992), the Fifth Circuit
   13
        examined whether the defendant's possession or transportation of drug money was
   14
        "designed to conceal or disguise the nature, the location, the source, the ownership,
   15
        or the control of the proceeds of specified illegal activity" under 18 U.S.C. §
   16
        1956(a)(1)(B)(i).
   17

   18
           Emma Gonzalez-Rodriguez was questioned at the Houston airport. She readily

   19   disclosed and turned over the $8000 she was carrying and made no false
   20   exculpatory statements about the money. The Court reversed the money laundering
   21   conviction for lack of evidence establishing the Emma was engaged in a “financial
   22   transaction…designed to disguise the nature, source or ownership of those
   23   proceeds.” Id. at 924.
   24      In examining the money laundering statute, the Court found the definition of
   25   transaction to include “a purchase, sale, loan, pledge, gift, transfer, delivery, or
   26
        other disposition” of proceeds derived from specified illegal activity, including
   27
        drug transaction. Id. So, even where the cash drug proceeds were found to be
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                                                   14
Case 2:18-cr-00335-AB Document 563 Filed 02/26/21 Page 15 of 24 Page ID #:2780




   1
        proceeds from specified illegal activity, the Court still found the transaction was no

   2    more than the mere transportation of funds from point A to point B because the
   3    necessary element that there be a financial transaction.
   4       The court rejected the government’s argument to interpret “financial
   5    transaction” broadly, however ordinary on their face, whenever the proceeds
   6    involved unlawful activity, stating that would turn the money laundering statute
   7    into a money spending statute. This interpretation, the court opined, “would be
   8
        contrary to Congress’ expressly stated intent that the transactions being
   9
        criminalized in the statute are those transactions “designed to conceal or disguise
   10
        the nature, the location, the source, the ownership, or the control of the proceeds
   11
        of specified unlawful activity.” Id. (emphasis added)
   12
           Here, CHEN actions described in the Payan-Castillo Indictment fails to meet
   13
        the statutory element that there be a transaction and that it be designed to conceal
   14
        or disguise the source or nature of the proceeds. (emphasis added) The delivery of
   15
        proceeds is not a transaction designed to conceal or disguised the source and
   16
        nature of the proceeds. (emphasis added) Because the Indictment fails to allege a
   17

   18
        necessary element, namely, that CHEN conducted a transaction designed to

   19   conceal or disguise the nature of the proceeds. This defect is fatal. As such, the
   20   Indictment must be dismissed.
   21         b. Financial Transaction is a Necessary Element of the Money Laundering
   22            Statute:
   23      In a case examining the necessary elements of the money laundering statute, the
   24   Fifth Circuit found the government’s evidence fell short in United States v. Puig-
   25   Infante, 19 F.3d 929 (5th Cir. 1994). There, the Fifth Circuit agreed the
   26
        government was required to prove that the defendant engaged in a financial
   27
        transaction involving the proceeds of an unlawful activity finding the money
   28


                                                  15
Case 2:18-cr-00335-AB Document 563 Filed 02/26/21 Page 16 of 24 Page ID #:2781




   1
        Abigail Puig received in exchange for the marihuana was the proceeds of an

   2    unlawful activity, but, her mere subsequent transportation of those proceeds by car
   3    does not constitute a "financial transaction" within the meaning of the statute. U.S.
   4    v. Puig-Infante, 19 F.3d 929, 938 (5th Cir. 1994)
   5       The court opined: “mere transportation without disposition of illegal drug
   6    proceeds is not a prohibited transaction under the money laundering statute” even
   7    though Abigail Puig-Infante was found to be in possession of $47,000 in cash she
   8
        had exchanged for marijuana. Id.
   9
           The Fifth Circuit explained a financial transaction must be at the very least be a
   10
        “transaction” ie. “a purchase, sale, loan, pledge, gift, transfer, delivery, or other
   11
        disposition….” or some action involving a financial institution or its facilities. The
   12
        court continued, “the statute makes plain that for something (not involving a
   13
        financial institution or its facilities) to be a transaction, it must be a "disposition."
   14
        (emphasis added).
   15
           "Disposition" most commonly means " a placing elsewhere, a giving over to the
   16
        care or possession of another."” Id. at 938. Here, as in Puig-Infante, there is no
   17

   18
        allegation that CHEN placed the money into the care or possession of another.

   19   There is no relinquishing of the property. CHEN conduct is described as being in a
   20   motel room with $436,000 and change in alleged drug proceeds. Not in the
   21   process of engaging in any transaction or attempting some sort of disposition of the
   22   proceeds as required.
   23      In Puig-Infante, the Fifth Circuit cited several examples similar to the case at
   24   bar. First, the Court cited the Sixth Circuit’s opinion in United States v. Samour, 9
   25   F.3d 531 (6th Cir. 1993), which held that "merely transporting cash does not meet
   26
        the definition of `financial transaction' for purposes of the money laundering
   27
        statute."
   28


                                                    16
Case 2:18-cr-00335-AB Document 563 Filed 02/26/21 Page 17 of 24 Page ID #:2782




   1
           The Sixth Circuit, in United States v. Samour, 9 F.3d 531 (6th Cir. 1993),

   2    considered whether transporting drug money concealed in an automobile or hidden
   3    on one's person constitutes a violation of § 1956(a)(1)(A)(i) or (a)(1)(B)(i). The
   4    court held that "merely transporting cash does not meet the definition of `financial
   5    transaction' for purposes of the money laundering statute." Id. at 536.
   6    In Samour, the defendant was caught transporting $30,000. The Sixth Circuit
   7    found that Samour merely transported cash and therefore did not engage in a
   8
        "financial transaction." Moreover, the court expressed its "reluctan[ce] to conclude
   9
        that a physical transportation of money, whether it is domestic or international,
   10
        constitutes a `financial transaction' within the meaning of section 1956(a)(1)
   11
        because Congress specifically created a separate subsection for transportation of
   12
        funds."
   13
               In United States v. Ramirez, 954 F.2d 1035 (5th Cir. 1992), the Court
   14
        reversed a money laundering conviction where the government's proof was
   15
        insufficient to establish a financial transaction under 18 U.S.C. § 1956. In Ramirez,
   16
        DEA agents searched a house used by the drug trafficking ring of which the
   17

   18
        defendant was a part and discovered a shoe box containing $132,980 in cash. In

   19   concluding that although "the jury could infer that the money found [in the house]
   20   represented proceeds from illegal activity," the evidence did not "allow the
   21   inference that Sanchez transferred, delivered, moved, or otherwise disposed of the
   22   money as required by statute."
   23         The reasoning and conclusions above demonstrate the elements of the
   24   money laundering statute require more than what this Indictment alleges, namely,
   25   a financial transaction. This is a fatal defect in this case. For this, the Court should
   26
        dismiss Counts I and XXIII of the indictment.
   27

   28


                                                   17
Case 2:18-cr-00335-AB Document 563 Filed 02/26/21 Page 18 of 24 Page ID #:2783




   1
              c. Hiding Drug Proceeds Is Not Laundering

   2       The Supreme Court in Regalado Cuellar v. United States, 553 U.S. 550, 128
   3    S.Ct. 1994 (2008) found that transporting funds in a secret compartment of a
   4    vehicle did not conceal or disguise the nature, source, ownership, or control of
   5    funds to meet the definition of money. The Supreme Court stated: “merely hiding
   6    funds during transportation is not sufficient to violate” the statute because using
   7    “secretive means when transporting funds is ‘weak’ evidence of intending to
   8
        conceal their source or ownership.” Id.
   9
           Where, as here, the indictment merely casts the accused in a suspicious light,
   10
        and not meet the definition of money laundering, the court’s remedy is to dismiss.
   11
        For the reasons above, this court should grant the defendant’s motion dismissing
   12
        Counts I and XXIII of the Indictment.
   13
                                          VI.
   14
                          DEFENDANT' CASE SHOULD BE SEVERED
   15                     TO AVOID UNFAIR PREJUDICE AT TRIAL
   16
              Defendant CHEN’s rights to due process and a fair trial require that his trial
   17

   18
        be severed from the others. Rule 14(a) provides for the severance of defendants

   19   under certain conditions: [i]if the joinder of offenses or defendants in an
   20   indictment, an information, or a consolidation for trial appears to prejudice a
   21   defendant..., the court may order that his trial be severed or provide any other relief
   22   that justice requires. Fed. R. Crim. P. 14 (2007). Although a motion for severance
   23   is addressed to the trial court's discretion, see, e.g., United States v. Seifert, 648
   24   F.2d 557, 563 (9th Cir. 1980), the granting of such a severance is warranted when
   25   there is a serious risk that a joint trial would compromise a specific trial right of
   26
        one of the defendants, or prevent the jury from making a reliable judgment about
   27
        guilt or innocence. United States v. Mayfield, 189 F.3d 895, 899 (9th Cir. 1999)
   28


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Case 2:18-cr-00335-AB Document 563 Filed 02/26/21 Page 19 of 24 Page ID #:2784




   1
        (quoting United States v. Zafiro, 560 U.S. 534, 539 (1993)); United States v.

   2    Tootick, 952 F.2d 1078, 1083 (9th Cir. 1991).
   3          To warrant the issuance of a severance, the defendant must demonstrate that
   4    a joint trial is "so manifestly prejudicial that it outweighs the dominant concern
   5    with judicial economy and compels the exercise of the court's discretion to sever."
   6    Doe, 655 F.2d at 926 (citations omitted). See also Zafiro, 506 U.S. at 539.
   7          Here, a joint trial would greatly prejudice CHEN where, as here, the case
   8
        against CHEN is de minimis when compared with that of the co-defendants.
   9
        United States v. Mardian, 546 F.2d 973, 980-81 (D.C. Cir. 1976); United States v.
   10
        Sampol, 636 F.2d 621, 645-47 (D.C. Cir. 1980).
   11
              a. Without Severance, the Jury May Find CHEN Guilty by Association,
   12            Impinging on his Due Process Rights.
   13
              It is important to note that “[n]either mere association and activity with a co-
   14
        conspirator nor even knowledge of the conspiracy's existence . . . meets the
   15
        standards [required] to link a defendant to the conspiracy charge.” United States v.
   16
        Peterson, 549 F.2d 654, 658 (9th Cir.1977). “Mere association and activity with a
   17

   18
        co-conspirator does not meet the test.” United States v. Basurto, 497 F.2d 781, 793

   19   (9th Cir. 1974) (citation omitted). A jury ordinarily experiences great difficulty in
   20   following admonishing instructions and in keeping separate evidence that is
   21   relevant only to co-defendants.
   22         In most cases, [a] co-defendant in a conspiracy trial occupies an uneasy seat.
   23   There generally will be evidence of wrongdoing by somebody. It is difficult for
   24   the individual to make his own case stand on its own merits in the minds of jurors
   25   who are ready to believe that birds of a feather are flocked together. Krulewitch v.
   26
        United States, 336 U.S. 440, 454 (1949) (Jackson, J., Concurring). If a jury cannot
   27
        compartmentalize the evidence that pertains to each defendant, the trial court runs
   28


                                                  19
Case 2:18-cr-00335-AB Document 563 Filed 02/26/21 Page 20 of 24 Page ID #:2785




   1
        the risk of allowing a conviction based upon a defendant's association with

   2    incriminating evidence alone.
   3          The jury cannot reasonably be expected to compartmentalize the evidence as
   4    it relates to CHEN alone. Cf. United States v. DeRosa, 670 F.2d 889, 898-99 (9th
   5    Cir. 1982) (noting that highly limited implicit connections between co-defendants
   6    may allow the jury to "easily compartmentalize the evidence"). In this case, there
   7    is a considerable amount of evidence that evidences the co-defendant’s characters
   8
        and implicates them as being responsible for the crimes charged. Most of this
   9
        evidence would probably be admissible against them in his separate trial.
   10
        However, in a separate trial of CHEN, a jury would not be permitted to hear the
   11
        prejudicial evidence pointing towards the co-conspirator's guilt. Since CHEN will
   12
        likely be prejudiced by evidence admissible only against his co-defendants, his
   13
        rights can only be protected by severance of the remaining defendants.
   14
                                         VII.
   15
                         SPEEDY TRIAL ACT REQUIRES DISMISSAL
   16
              Congress enacted the Speedy Trial Act, 18 U.S.C. § 3161 et seq., as part of
   17

   18
        its desire to provide greater protection against improper delay in criminal trials

   19   than afforded under the Sixth Amendment. See United States v. Mehrmanesh, 652
   20   F.2d 766, 769 (9th Cir. 1981); accord United States v. Nance, 666 F.2d 353, 360
   21   (9th Cir. 1982). It therefore provides specific timetables and remedies to ensure
   22   that criminal cases do not languish due to ordinary docket congestion or similar
   23   causes. See Nance, 666 F.2d at 355-56. The Act also “put teeth into the speedy
   24   trial guarantee” by mandating dismissal when its parameters were exceeded.
   25   Mehrmanesh, 652 F.2d at 769. If the time limits in the statute are exceeded, the
   26
        district court must dismiss upon the defendant’s motion. See § 3162(a)(1) & (2);
   27
        United States v. Taylor, 487 U.S. 326, 332 (1988). The trial court’s only discretion
   28


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Case 2:18-cr-00335-AB Document 563 Filed 02/26/21 Page 21 of 24 Page ID #:2786




   1
        is whether to dismiss with or without prejudice. See United States v. Engstrom, 7

   2    F.3d 1423, 1427 (9th Cir. 1993).
   3          Defendant CHEN is presently charged in an Indictment filed on May 31,
   4    2018 and has been on personal recognizance since his initial appearance on
   5    October 18, 2019. There have been four waivers of the speedy trial. The first
   6    order continued the trial to September 8, 2020, the next order continued the trial to
   7    February 19, 2021, and, the third order expires March 16, 2021. Defendant CHEN
   8
        objected to the fourth stipulation which expires September 14, 2021. Defendant
   9
        CHEN objected to continuing his trial beyond March 16, 2021. CHEN moves the
   10
        court for an order dismissing the case with prejudice should he not be brought to
   11
        trial on or before March 16, 2021.
   12
                                               VIII.
   13                                VENUE IS NEW YORK THUS
   14                               CASE MUST BE TRANSFERRED
   15
              The court may transfer a prosecution from the district in which the
   16
        indictment is pending to another district for the convenience of parties and
   17
        witnesses and in the interests of justice. FRCrP 21(b); §14:5. The rule provides
   18
        for two kinds of motions that may be made by a defendant for a change of venue.
   19
        He first is a motion on the grounds of unfair prejudice against the defendant that he
   20
        cannot obtain a fair and impartial trial in the district where the case is pending.
   21
        The second motion, applicable here, is when the alleged offense is to have been
   22

   23
        committed in more than one district. In such a case the court, on defendant’s

   24
        motion, will be authorized to transfer the case to another district in which the

   25   commission of the offense is charged, if the court is satisfied it is in the interests of
   26   justice to do so. (See Notes to Subdivision (a) and (b)., FRCrP 21)
   27
              It is in the interests of justice to transfer this case to the Eastern District of
   28


                                                    21
Case 2:18-cr-00335-AB Document 563 Filed 02/26/21 Page 22 of 24 Page ID #:2787




   1    New York where the offense is to have taken place and where the defendant
   2    currently resides. The factors to be considered when evaluating the propriety of a
   3    Rule 21(b) request include, the location of; the defendant, possible witnesses, the
   4
        events likely to be an issue, documents and records likely to be involved, and, any
   5
        other special elements which might effect the transfer. Platt v. Minnesota Mining
   6
        & mfg. Co., 376 U.S. 240, 243-44 (1964) here, the defendant resides in New York
   7
        where potential witnesses to the alleged conduct are also located. In addition, the
   8
        location of the scene of the alleged conduct is in Flushing a neighborhood in the
   9
        New York City area. Finally, in United States v. Cabrales, 524 US 1, 3 (1998), the
   10
        court examined the proper venue for a case involving the statute at issue in the case
   11
        at bar, namely, Title 18, § 1956(a), money laundering, and found the location of
   12
        the alleged “financial transaction” supporting the “money laundering” offenses
   13

   14
        rather than where the “specified unlawful activity” that generated the laundered

   15
        funds occurred was the proper venue.

   16         In Cabrales, the Supreme Court affirmed an 8th Circuit holding where
   17   Missouri, the situs of the drug trafficking activity that yielded the funds allegedly
   18   laundered was not the proper venue when the money laundering transactions
   19   began, continued, and were competed in Florida. Because Cabrales deposited
   20   $40,000 in a Florida bank and made four separate withdrawals from that bank,
   21   venue was proper in Florida. Here, CHEN is charged with conspiracy and the
   22   overt acts alleged to have taken place are limited to one act in a Red Roof Inn
   23
        motel room in Flushing, New York. The indictment alleges that CHEN attempted
   24
        or engaged in a financial transaction in New York. As such, the Eastern District
   25
        of New York is the proper venue. Id.
   26

   27

   28


                                                  22
Case 2:18-cr-00335-AB Document 563 Filed 02/26/21 Page 23 of 24 Page ID #:2788




   1
                                        CONCLUSION

   2
             For the reasons stated, CHEN requests that this Court grant his motions.
   3

   4    Dated:     February 26, 2021                Respectfully Submitted,
                                                    s/Oliver Cleary
   5
                                                    Attorney for Defendant
   6                                                Yichao Chen
   7

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Case 2:18-cr-00335-AB Document 563 Filed 02/26/21 Page 24 of 24 Page ID #:2789




   1
        Oliver P. Cleary [SB#168440]
        468 N. CAMDEN DR., #200
   2
        BEVERLY HILLS, CA 90210
        Tel. (424) 324-8874
   3
        Attorney for defendant,
   4
              Yichao Chen

   5
                             UNITED STATES DISTRICT COURT
   6
                            CENTRAL DISTRICT OF CALIFORNIA
   7

   8                                               Case No.: CR-18-335-AB
        UNITED STATES OF AMERICA,
   9
                     Plaintiff,                    CERTIFICATE OF SERVICE
   10
              vs.
   11

   12   YICHAO CHEN,
   13                Defendant.
   14

   15   IT IS HEREBY CERTIFIED THAT:
   16         I, Oliver Cleary, am a citizen of the United States and am at least eighteen
   17   years of age. My business address is 468 N. Camden Dr., #200, Beverly Hills, CA
   18   90210.
   19         I have caused service of MOTIONS TO: DISMISS THE INDICTMENT,
   20   SEVER, AND, TRANSFER VENUE
   21         The following recipients are currently on the list to receive e-mail notices for
   22   this case and have thus been served electronically at the following email addresses:
   23         Benedetto Balding, AUSA, Benedetto.balding@usdoj.gov
   24         Carley Palmer, AUSA, carley.palmer@usdoj.gov
   25   I declare under penalty of perjury that the foregoing is true and correct.
   26   Executed on:        2/26/21                    s/Oliver Cleary
   27
                                                       Attorney for Defendant
                                                       Yichao Chen
   28


                                                  24
